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8                        UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
10                            SACRAMENTO DIVISION
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13   UNITED STATES OF AMERICA,
14               Plaintiff,                  2:04-cr-0004 MCE
15          v.
                                             STIPULATION AND ORDER
16   CYNTHIA BARCELO BLAKE,                  TO CONTINUE SENTENCING
17              Defendant.
     ____________________________/
18
19          THE PARTIES HEREBY STIPULATE AND AGREE that the sentencing
20   hearing, now scheduled for July 25, 2006, shall be continued to
21   October 17, 2006, at 8:30 a.m.
22          The presentence report schedule shall be as follows:
23               Disclose proposed PSR to counsel: 9/12/06
                 Written objections: 9/25/06
24               File PSR with court: 10/3/06
                 File Motion for correction of PSR: 10/10/06
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27   ///
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           Case 2:04-cr-00004-MCE Document 92 Filed 07/17/06 Page 2 of 2


1           The parties further stipulate and agree that pursuant to
2    the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A) & (B)(iv), time
3    is excluded from July 25, 2006, to October 17, 2006, to allow
4    continuity of counsel and reasonable time for counsel effectively
5    to prepare.
6           Dated: July 13, 2006
7    /s/ MATTHEW STEGMAN                    /s/ SHANNAN DUGAN
     MATTHEW STEGMAN                        SHANNAN DUGAN
8    Assistant U.S. Attorney                Attorney for CYNTHIA BLAKE
9           IT IS SO ORDERED.
10          Dated: July 17, 2006
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                                      MORRISON C. ENGLAND, JR
14                                    UNITED STATES DISTRICT JUDGE

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